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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
VINCI BRANDS LLC,

                                            Plaintiff,                      23-cv-5138 (LGS) (VF)

                          -against-
                                                                                      ORDER
COACH SERVICES, INC. et al,

                                             Defendants.
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VALERIE FIGUEREDO, United States Magistrate Judge:

        If Vinci Brands LLC intends to amend its complaint, it is directed to file a motion

seeking leave to file a third amended complaint by Wednesday, July 3, 2024.

        SO ORDERED.

DATED:           New York, New York
                 June 28, 2024



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                                                             VALERIE FIGUEREDO
                                                             United States Magistrate Judge
